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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                                                                    JL" - '           r,
                                        Alexandria Division


 UNITED STATES OF AMERICA,                        )                             '   •      ' ■ '' "
         V.                                        j           No. 1:19MJ 30C^
                                                  )
 SIRI lAMSAKULDACHA,                              )
                                                  )            Court Date: July 15, 2019
                                                  )
         Defendant.                               )

                                   CRIMINAL INFORMATION


                                     (Misdemeanor 7517739)

THE UNITED STATES ATTORNEY CHARGES THAT:


       On or about June 6, 2019, at Fort Beivoir, Virginia, within the special maritime and

territorial jurisdiction of the United States in the Eastern District of Virginia, the defendant, SIRI

lAMSAKULDACHA, did unlawfully, knowingly, and willfully fail to stop, when approaching,

from any direction, any school bus which was stopped on a highway for the purpose of taking on

or discharging children, and to remain stopped until all such children were clear of the highway

or school driveway and the bus was put in motion.

((In violation of Title 18, United States Code, Section 13 assimilating Virginia Code Section
46.2-859)

                                               Respectfully submitted,

                                               G. Zachary Terwilliger
                                               United States Attorney

                                       By:
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